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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA                                       6/24/2022
                                                                                               6/24/2022
                                 LYNCHBURG DIVISION


    UNITED STATES OF AMERICA                            CASE NO. 6:19-cr-00002


                           v.                           MEMORANDUM OPINION


    QUENTIN LOURON JONES,                               JUDGE NORMAN K. MOON
                                       Defendant.



         Before the Court is Defendant’s pro se 18 U.S.C. § 3582(c)(1)(A)(i) motion for

  compassionate release. The Court will deny the motion because Defendant’s circumstances are

  not so extraordinary and compelling as to warrant a reduction in sentence.



                                                    I

                                             Background

         Defendant is serving 131 months’ incarceration for conspiracy to distribute and possess

  with intent to distribute 50 grams or more of methamphetamine. See Dkt. 157 (judgment). He

  filed the instant motion for compassionate release a little over one year into his sentence. See

  Dkt. 183. The federal public defender was immediately appointed, see Dkt. 184, but declined to

  supplement Defendant’s motion, see Dkt. 185. The matter is now ripe for decision.

         The Bureau of Prison’s website shows that Defendant is currently housed in FCI

  Williamsburg, and that his current release date is December 29, 2028.



                         Defendant’s Proffered Reasons for Early Release
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         Defendant argues that extraordinary and compelling reasons warranting early release

  from his term of imprisonment are presented by certain medical issues creating additional risk to

  him from the spread of COVID-19. Dkt. 183 p. 6. Defendant points specifically to his obesity,

  gout, and high blood pressure. Id.



                                                     II

                                          Statutory Requirements

         Defendant brings this motion under 18 U.S.C. § 3582(c)(1)(A). 1 Informally known as the

  compassionate release statute, this provision is understood to “introduce compassion as a factor



         1
             The relevant portion of the statute reads as follows.


                   (c) Modification of an Imposed Term of Imprisonment.
                   —The court may not modify a term of imprisonment once it has been imposed
                   except that—

                       (1) in any case—

                          (A) the court, upon motion of the Director of the Bureau of Prisons, or
                          upon motion of the defendant after the defendant has fully exhausted all
                          administrative rights to appeal a failure of the Bureau of Prisons to bring a
                          motion on the defendant’s behalf or the lapse of 30 days from the receipt
                          of such a request by the warden of the defendant’s facility, whichever is
                          earlier, may reduce the term of imprisonment (and may impose a term of
                          probation or supervised release with or without conditions that does not
                          exceed the unserved portion of the original term of imprisonment), after
                          considering the factors set forth in section 3553(a) to the extent that they
                          are applicable, if it finds that—

                              (i) extraordinary and compelling reasons warrant such a reduction

                              [. . . .]

                              and that such a reduction is consistent with applicable policy
                              statements issued by the Sentencing Commission.


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  in assessing ongoing terms of imprisonment” by “authorizing a district court to give greater

  weight to an inmate’s personal circumstances—when sufficiently extraordinary and

  compelling—than to society’s interests in the defendant’s continued incarceration and the

  finality of judgments.” United States v. Hargrove, 30 F.4th 189, 197 (4th Cir. 2022).

         A defendant seeking early release vis-à-vis the compassionate release statute faces two

  threshold barriers. First, he must afford the Bureau of Prisons the opportunity to file a motion on

  his behalf. See § 3582(c)(1)(A) (allowing for a defendant’s motion only “after the defendant has

  fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

  motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

  warden of the defendant’s facility, whichever is earlier”). 2 Second, he must identify

  extraordinary and compelling reasons that warrant a sentence reduction. See § 3582(c)(1)(A)(i).

  See also United States v. High, 997 F.3d 181, 186 (4th Cir. 2021) (explaining that the statute’s

  requirement that any reduction be consistent with policy statements issued by the Sentencing

  Commission is inapplicable to a defendant’s motion for compassionate release because the

  Sentencing Commission has, as of yet, only issued policy statements addressing motions filed by

  the Bureau of Prisons).

         Only after both of these conditions are met is the district court then authorized to

  consider, in light of the factors set forth in 18 U.S.C. § 3553(a), whether to reduce the

  defendant’s sentence. See § 3582(c)(1)(A). See also High, 997 F.3d at 186 (clarifying that the

  consideration of § 3553(a) factors comes into play once a successful showing of extraordinary

  and compelling circumstances has been made). See also United States v. Graham, No. 21-6613,



         2
           The Fourth Circuit recently held that this exhaustion requirement is non-jurisdictional
  “and thus waived if it is not timely raised.” United States v. Muhammad, 16 F.4th 126, 129 (4th
  Cir. 2022).

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  2022 WL 1172169 *1 (4th Cir. 2022) (relating three step process). Here, the Court may begin

  and end its analysis with the second condition.

         There are as of yet no firm standards to aid district courts in distinguishing extraordinary

  and compelling circumstances from the ordinary disadvantages of incarceration which our

  criminal justice system is obliged to tolerate. Instead, the compassionate release statute is

  understood to empower courts “to consider any extraordinary and compelling reason for release

  that a defendant might raise.” United States v. McCoy, 981 F.3d 271, 284 (4th Cir. 2020). The

  statute itself provides no guideposts. See High, 997 F.3d at 186 (acknowledging that

  extraordinary and compelling reasons “are not statutorily detailed”). And the Fourth Circuit

  appears disinclined to bound the statute’s broad language with bright-line rules. See Hargrove,

  30 F.4th at 197 (rejecting a bright-line rule and stating that “[t]he factors applicable to the

  determination of what circumstances can constitute an extraordinary and compelling reason for

  release from prison are complex and not easily summarized”); id at 198 (declining to adopt

  separate bright-line rule and instead concluding “that the inquiry is multifaceted and must take

  into account the totality of the relevant circumstances”).

         However, at least in the case of compassionate release motions based on circumstances of

  medical peril, the meaning of extraordinary and compelling reasons “may not be totally without

  definition.” High, 997 F.3d at 186. First, it is clear that serious medical risk to an inmate can be a

  basis for early release. Id. at 185. Second, it now appears established that, with respect to the

  unique medical risks created by the COVID-19 pandemic, a defendant must show both that (1)

  the risk of contracting the virus in prison is greater than it would be outside and (2) the inmate’s

  preexisting medical condition increases his risk of experiencing serious or fatal complications

  should he become infected. Id. Within these outer bounds, however, the Fourth Circuit has not



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  undertaken “to elucidate the shape of qualifying medical conditions;” instead committing the

  resolution of such questions to the discretion of the district courts. Id.

          The Fourth Circuit did allow, however, that the Sentencing Commission’s policy

  statement at U.S. Sentencing Guideline (“U.S.S.G.”) § 1B1.13 can serve as “helpful guidance.”

  Id. at 186 (quoting McCoy, 981 F.3d at 282 n.7). See also Hargrove, 30 F.4th at 197. In the case

  of motions for compassionate release filed by the Bureau of Prisons, as opposed to motions filed

  by defendants, U.S.S.G. § 1B1.13 expounds “what should be considered extraordinary and

  compelling reasons for sentence reduction, including the criteria to be applied and a list of

  specific examples.” U.S.S.G. § 1B1.13 background (internal quotation marks omitted). For

  motions based on an inmate’s medical condition, the policy statement articulates a high

  threshold—i.e., “[t]he defendant is suffering from a terminal illness,” id. at application note

  (1)(A)(i), or some other serious condition “that substantially diminishes the ability of the

  defendant to provide self-care within the environment of a correctional facility and from which

  he or she is not expected to recover,” id. at application note (1)(A)(ii).

          The Court is left with the following understanding. Forsaking resort to any bright-line

  rules, yet treating as informative the high-threshold articulated in U.S.S.G. § 1B1.13, the Court is

  to draw a conclusion from the totality of relevant circumstances presented by each individual

  case whether a defendant has identified extraordinary and compelling reasons warranting release.

  But an inmate seeking early release based on the medical risks associated with contracting

  COVID-19 must at minimum demonstrate both that (1) the risk of contracting the virus in prison

  is greater than it would be outside and (2) the inmate’s preexisting medical condition increases

  his risk of experiencing serious or fatal complications should he become infected.




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                            Defendant is Not Eligible for Early Release

         Following this course, the Court concludes that the circumstances presented by this case

  are not so extraordinary and compelling as to warrant early release. First, Defendant has not

  provided any reason to believe that his risk of contracting the virus would be lessened were he to

  enter the general population. The Bureau of Prisons website reflects that there are only three

  active cases of COVID-19 at FCI Williamsburg, which houses 1,498 total inmates. 3 It also

  provides access to the Bureau’s plan to mitigate against the dangers posed by the virus, which

  courts have recognized to be “a comprehensive, evolving and professional effort to curtail the

  virus and protect both inmates and staff.” United States v. Feiling, 453 F.Supp.3d 832, 841 (E.D.

  Va. 2020). Nor is there anything before the Court to suggest that FCI Williamsburg has failed in

  any way to take preventative measures to stop the spread of COVID-19 in its facility. 4 See

  United States v. Tatum, No. 3:19-cr-00146, 2022 WL 287695 *2 (E.D. Va. Jan. 31, 2022)

  (Novak, J.) (“A general fear of contracting COVID-19, without a sufficient basis for that fear,

  does not provide an extraordinary and compelling reason for a defendant’s release.”).

         Second, while Defendant’s obesity is recognized by the CDC as an underlying medical

  condition associated with “higher risk for” severe COVID-19, 5 the Court is unable to find that


         3
           See COVID-19 Cases, FEDERAL BUREAU OF PRISONS (last visited June 23, 2022),
  https://www.bop.gov/coronavirus/.
         4
           Defendant points to “poor management of the facility” as a compounding risk factor.
  But he does not identify any particular failing by FCI Williamsburg, so that the Court must pass
  over this argument.
         5
            Defendant’s medical records show a BMI of 40.1 kg/m on April 14, 2021. See Dkt. 183
  S7KH&'&OLVWVD%0, 30 kg/m as a medical condition creating a “higher risk for sever
  COVID-19 outcomes.” See Underlying Medical Conditions Associated with Higher Risk for
  Severe COVID-19, CENTERS FOR DISEASE CONTROL AND PREVENTION,
  https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-care/underlyingconditions.html (last
  visited June 23, 2022).
         The CDC has found only that high blood pressure may “possibly” render a person more

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  this heightened risk, without more, is a circumstance so extraordinary and compelling as to

  warrant release from FCI Williamsburg at this time. Defendant has not provided any reason to

  think that FCI Williamsburg is unable to care for an inmate with obesity who contracts COVID-

  19. To the contrary, the record reflects that Defendant was offered (and refused) the COVID-19

  vaccine. See Dkt. 183 p. 16. Cf. United States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021)

  (“[F]or the vast majority of prisoners, the availability of a vaccine makes it impossible to

  conclude that the risk of COVID-19 is an ‘extraordinary and compelling’ reason for immediate

  release.”). See also United States v. Centeno-Morales, No. 7:13-cr-00074, 2022 WL 1547755 *3

  (W.D. Va. May 16, 2022) (Dillon, J.) (noting that “[m]any courts have held that an inmate’s

  decision not to accept the COVID-19 vaccine, while not controlling, weighs against granting a

  motion for compassionate release that is based on COVID-19 concerns”).



                                                  III

         “COVID-19 raises medical issues in the prison context that are particularly serious,” and

  “depending on the circumstances, an inmate might well be able to present an extraordinary and

  compelling reason for release based on COVID-19.” High, 997 F.3d at 185. But the Court finds

  that this defendant’s circumstances are not so extraordinary and compelling as to outweigh

  “society’s interests in the defendant’s continued incarceration and the finality of judgments.”

  Hargrove, 30 F.4th at 197. Because early release is therefore not authorized, Defendant’s motion

  will be dismissed.


  susceptible to becoming very sick from COVID-19. See People with Certain Medical
  Conditions, CENTERS FOR DISEASE CONTROL AND PREVENTION,
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
  conditions.html (last visited June 23, 2022). The CDC does not list gout among the conditions
  associated with risk of complications arising from a COVID-19 infection.

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         The Clerk of the Court is hereby directed to send this Memorandum Opinion to all counsel

  of record.

         Entered this _____
                       24th day of June 2022.




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